






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00109-CR






Ronnie Melvin West, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 426TH JUDICIAL DISTRICT


NO. 50990, HONORABLE FANCY H. JEZEK, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



After the trial court overruled his pretrial motion to suppress evidence, appellant
Ronnie Melvin West pleaded guilty and judicially confessed to driving while intoxicated, third
offense.  See Tex. Penal Code Ann. § 49.04 (West 2003), § 49.09(b) (West Supp. 2008).  The court
adjudged appellant guilty and assessed his punishment at ten years' imprisonment, but the court
suspended imposition of sentence and placed appellant on community supervision.  The only issue
presented on appeal is whether the trial court erred by overruling the motion to suppress.  We
conclude that it did not, and we affirm the conviction.

Reserve Deputy Christopher Bolton testified that he and his partner, Deputy Howard
Steinhour, were on patrol when they received a dispatch reporting a major accident on highway 195
near the Lampasas River bridge.  A subsequent broadcast reported that one of the vehicles involved
in the accident, described as a white Chevrolet pickup with a camper shell, had left the scene.  Bolton
testified that he and Steinhour drove past the accident scene and continued south on 195.  About one
mile from the scene, they came upon a white Chevrolet pickup with a camper shell that was stopped
at the side of the road.  The left side of the pickup was damaged.  A man, identified as appellant, was
changing the left front tire of the pickup.  The officers stopped their patrol car and spoke to appellant. 
Bolton testified that appellant's "speech was slurred and his balance was off like he was under the
influence of alcohol or intoxicated."  Appellant was unable to stand without Steinhour's assistance. 
The officers concluded that appellant was intoxicated and placed him under arrest.  A rifle and two
bottles of vodka were found inside appellant's pickup.

Appellant does not contend that the officers lacked probable cause to arrest him. 
Rather, he contends that he was unlawfully detained prior to his arrest because the officers did not
have credible evidence that his vehicle was involved in the accident.  This argument fails because
there is no evidence that appellant was detained prior to his arrest.

Appellant was not stopped by the officers while driving his pickup truck. (1)  Instead,
the officers found appellant already stopped and changing a tire on his truck.  A police officer does
not need probable cause or reasonable suspicion to simply approach a person and ask questions.  See
Florida v. Royer, 460 U.S. 491, 497-98 (1983); Johnson v. State, 912 S.W.2d 227, 235 (Tex. Crim.
App. 1995); Armstrong v. State, 966 S.W.2d 150, 152 (Tex. App.--Austin 1998, no pet.).  Under
the circumstances shown, we find nothing unreasonable or unlawful in the officers' decision to
investigate whether appellant was the person who left the scene of the accident.

The judgment of conviction is affirmed.



				__________________________________________

				W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Pemberton and Waldrop

Affirmed

Filed:   August 27, 2008

Do Not Publish
1.   This fact distinguishes this cause from Glass v. State, 681 S.W.2d 599, 600 (Tex. Crim.
App. 1984), on which appellant relies.


